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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF        §
AMERICA,                             §
                                     §
    Plaintiff and Counter-Defendant, §
                                     §
and                                  §
                                     §
    WAYNE LAPIERRE,                  §
                                     §
    Third-Party Defendant,           §
                                     §
v.                                   §                       Case No. 3:19-cv-02074-G
                                     §
ACKERMAN MCQUEEN, INC.,              §
                                     §
    Defendant and Counter-Plaintiff, §
                                     §
and                                  §
                                     §
MERCURY GROUP, INC., HENRY           §
MARTIN, WILLIAM WINKLER,             §
MELANIE MONTGOMERY, AND JESSE §
GREENBERG,                           §
                                     §
    Defendants.

                DEFENDANTS’ INITIAL DISCLOSURES PURSUANT TO
                  FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1)

       Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 26(a)(1) and the Court’s September 15,

2020 Order (ECF 168), Defendants Ackerman McQueen, Inc., Mercury Group, Inc., Henry

Martin, William Winkler, Melanie Montgomery, and Jesse Greenberg (collectively,

“Defendants”) submit the following Initial Disclosures.

       Defendants hereby expressly reserve the right to amend or supplement all information

provided in the foregoing Initial Disclosures throughout and upon the conclusion of discovery and

with the benefit of expert analysis and review, as appropriate, pursuant to Rule 26(e)(1).

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(A) The name and, if known, the address and telephone number of each individual likely to
    have discoverable information- along with the subjects of that information- that the
    disclosing party may use to support its claims or defenses, unless solely for impeachment,
    identifying the subjects of the information:

        1.     Current and former employees, agents, attorneys, representatives, and custodian(s)
of records of National Rifle Association of America, including but not limited to:

              Arulanandam, Andrew
              Brownell, Peter
              Childress, Richard
              Christman, Scott
              Cors, Allan
              Cotton, Charles
              Cox, Christopher
              Frazer, John
              Froman, Sandy
              Grable, Todd
              Hallow, Millie
              Hammer, Marion
              Hart, Steven
              Keene, David
              LaPierre, Susan
              LaPierre, Wayne
              Lee, Willis
              Meadows, Carolyn
              Perrin, John
              Porter, James “Jim”
              Reno, Duane
              Robinson, Kayne
              Robinson, Derek
              Schropp, Tyler
              Spray, Craig
              Supernaugh, Lisa
              Tedrick, Rick
              Wood, Graham
              c/o BREWER ATTORNEYS & COUNSELORS
              1717 Main Street, Suite 5900
              Dallas, Texas 75201

              The NRA is believed to have knowledge relating to the claims and defenses in this
              case, including but not limited to its decades long relationship with AMc, the
              NRA’s breach of the Services Agreement, the NRA’s interference with the NRA’s
              Third Party Contracts, NRATV, budgeting, billing, invoicing, the NRA’s
              anticipated litigation against Defendants in September 2018, Defendants’
              compliance with the NRA’s audits. The NRA also is believed to have knowledge

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              concerning the NRA Foundation’s relationship with AMc, the NRA Foundation’s
              breach of the Services Agreement, the NRA Foundation’s with the NRA, and
              AMc’s damages.

        2.     Current and former employees, agents, attorneys, representatives, and custodian(s)
of records of Ackerman McQueen, Inc., including but not limited to:

              Duffy-Cremer, Lacey
              Greenberg, Jesse
              Farrell, Pete
              Makris, Tony
              Martin, Edmund
              Martin, Henry
              McQueen, Revan
              Montgomery, Melanie
              Popp, John
              Powers, William “Bill”
              Tavangar, Nader
              Winkler, William
              Winkler, Brandon
              c/o DORSEY & WHITNEY LLP
              300 Crescent Court, Suite 400
              Dallas, Texas 75201

              AMc is believed to have knowledge relating to the claims and defenses in this case,
              including but not limited to its decades long relationship with the NRA, the NRA’s
              breach of the Services Agreement, the NRA’s interference with the NRA’s Third
              Party Contracts, NRATV, budgeting, billing, invoicing, and Defendants’
              compliance with the NRA’s audits.

     3.    Employees, agents, attorneys, representatives, and custodian(s) of records of
BREWER ATTORNEYS & COUNSELORS, including but not limited to:

              Brewer, William A. III
              Carter, Travis J.
              Collins, Michael
              Dillon, Susan
              Rogers, Sarah
              c/o BREWER ATTORNEYS & COUNSELORS
              1717 Main Street, Suite 5900
              Dallas, Texas 75201

              The Brewer Firm is believed to have knowledge relating to the claims and defenses
              in this case, including but not limited to the NRA’s breach of the Services
              Agreement, the NRA’s interference with the NRA’s Third Party Contracts, the
              Brewer Firm’s interference with the NRA and AMc’s relationship, the Brewer Firm


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              taking over and competing AMc for the NRA’s business, the NRA’s audits of AMc
              and the falsity of the allegations relating to AMc’s alleged non-compliance,
              including but not limited to the facts and circumstances relating to Ms. Dillon’s
              work for the Brewer Firm and involvement in FRA’s audit of AMc, and the facts
              and circumstances relating to the hiring and termination of Ms. Dillon, and
              Defendants’ damages.

      4.       Current and former employees, agents, attorneys, representatives, and custodian(s)
of records of Forensic Risk Alliance, Inc., including but not limited to:

              Asaka, Masako
              Bradley, Jessica
              Dillon, Susan
              Hansen, Jerry
              Logue, Danielle
              Miller, Russell
              Stepanyan Hakob
              Trahar, Michael
              c/o DEBEVOISE & PLIMPTON LLP
              801 Pennsylvania Avenue, NW, Suite 500
              Washington, D.C. 20004

              FRA is believed to have knowledge relating to the NRA’s audits of AMc and the
              falsity of the allegations relating to AMc’s alleged non-compliance, the facts and
              circumstances relating to Ms. Dillon’s work for the Brewer Firm and involvement
              in FRA’s audit of AMc, and the facts and circumstances relating to the hiring and
              termination of Ms. Dillon.

     5.    Employees, agents, attorneys, representatives, and custodian(s) of records of
DORSEY & WHITNEY LLP, including but not limited to:

              G. Michael Gruber
              Madrid, Jay
              c/o DORSEY & WHITNEY LLP
              300 Crescent Court, Suite 400
              Dallas, Texas 75201

              Dorsey is believed to have knowledge relating to the attorneys’ fees sought by
              Defendants.

      6.    Employees, agents, attorneys, representatives, and custodian(s) of records of
SCHERTLER ONORATO MEAD & SEARS, including but not limited to:

              David Schertler
              David Dickieson
              SCHERTLER ONORATO MEAD & SEARS


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              901 New York Avenue, N.W., Suite 500 West
              Washington, DC 20001

              S&O is believed to have knowledge relating to the attorneys’ fees sought by
              Defendants.

     7.     Employees, agents, attorneys, representatives, and custodian(s) of records of The
NRA Foundation.

              11250 Waples Mill Rd
              Fairfax, VA 22030

              The NRA Foundation is believed to have knowledge relating to the claims and
              defenses in this case, including its relationship with AMc, the NRA Foundation’s
              breach of the Services Agreement, its relationship with the NRA, and AMc’s
              damages.

      8.    Employees, agents, attorneys, representatives, and custodian(s) of records of
COOPER & KIRK, PLLC, including but not limited to:

              Cooper, Charles “Chuck”
              COOPER & KIRK, PLLC
              1523 New Hampshire Ave NW
              Washington, DC 20036

              Cooper & Kirk is believed to have knowledge relating to the NRA’s audits of AMc.

       9.    Employees, agents, attorneys, representatives, and custodian(s) of records of
Attorney General of the State of New York, including but not limited to:

              James, Leticia
              Attorney General of the State of New York
              28 Liberty Street
              New York, NY 10005

              The Attorney General of the State of New York is believed to have knowledge
              relating to the NRA’s relationship with the NRA Foundation, the facts and
              circumstances relating to the termination of the Services Agreement, and the
              investigation into the NRA’s compliance with non-profit laws.

       10.   Employees, agents, attorneys, representatives, and custodian(s) of records of
Attorney General of District of Columbia, including but not limited to:

              Racine, Karl A.
              Attorney General of District of Columbia
              441 4th St NW #1100


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              Washington, DC 20001

              The Attorney General of the District of Columbia is believed to have knowledge
              relating to the NRA’s relationship with the NRA Foundation, the facts and
              circumstances relating to the termination of the Services Agreement, and the
              investigation into the NRA’s compliance with non-profit laws.

        11.    Current and former employees, agents, attorneys, representatives, and custodian(s)
of records of Performance Improvement Partners, LLC, including but not limited to:

              Ahrens, Daniel
              Bisack, John
              Bilinski, Alex
              Bross, Andy
              Jansen, Tom
              O’Brien, John
              Rinaldi, Anthony
              Rustad, Jim
              Serafino, Jon
              c/o Martin C. Geagan
              WINSTON & STRAWN LLP
              200 Park Avenue
              New York, NY 10166

              PIP is believed to have knowledge relating to NRATV and analytics.

       12.    Boren, Dan
              WHITTEN BURRAGE LAW FIRM
              12 North Broadway Avenue, Suite 300
              Oklahoma City, OK 73102

              Mr. Boren is believed to have knowledge relating to the falsity of Plaintiff’s
              extortion allegations and AMc engaging in “double billing” for the Chickasaw
              Nation.

       13.    Cummins, Emily
              Contact Information Unknown

              Ms. Cummins, a former employee of the NRA, is believed to have knowledge
              relating to the NRA’s relationship with AMc, including accounting and billing
              practices, whistleblowers claims, issues with the Brewer Firm’s billings and
              engagement, and issues relating to threats made by the Brewer Firm.

       14.    Stanford, Gayle
              6100 Kentland Avenue
              Woodland Hills, CA 92626

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              Ms. Stanford is believed to have knowledge relating to the NRA’s relationship with
              AMc, Mr. LaPierre’s travel, billing, and invoicing.

       15.    Hakim, Danny
              The New York Times Company
              620 Eighth Avenue
              New York, NY 10018

              Mr. Hakim is believed to have knowledge concerning the NRA allegations relating
              to leaking, the NRA providing false and defamatory information to the press about
              Defendants, communications with the Brewer Firm and the NRA, and Defendants’
              damages.

       16.    Loesch, Dana
              c/o KAYIRA LAW, LLC
              200 S. Hanley Road, Suite 208
              Clayton, Missouri 63105

              Ms. Loesch is believed to have knowledge relating to the NRA’s Third Party
              Contract between Ms. Loesch and AMc and NRATV.

       17.    Maremont, Mark
              The Wall Street Journal
              1211 Avenue of the Americas
              New York, NY 10036

              Mr. Maremont is believed to have knowledge concerning the NRA allegations
              relating to leaking, the NRA providing false and defamatory information to the
              press about Defendants, and Defendants’ damages.

       18.    North, Lt. Col. Oliver
              c/o Brendon Sullivan, Steven Cady
              WILLIAMS & CONNOLLY LLP
              725 Twelfth Street, N.W.
              Washington, D.C. 20005

              Col. North is believed to have knowledge relating to the claims and defenses in this
              case, including but not limited to the Brewer Firm’s engagement by the NRA, the
              attorneys’ fees paid by the NRA to the Brewer Firm, the NRA members’ concerns
              regarding the same, the attempted investigation of the Brewer Firm’s engagement
              and fees, the facts and circumstances relating to the creation of the contract between
              Col. North and AMc, the facts and circumstances relating to the termination of the
              NRA Third Party Contract between Col. North and AMc, and the falsity of the
              NRA’s extortion allegations.



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       19.       Phillips, Wilson “Woody”
                 c/o Mark Werbner
                 WINSTON & STRAWN LLP
                 2121 N. Pearl Street, Suite 900
                 Dallas, Texas 75201

                 Mr. Phillips is believed to have knowledge relating to the claims and defenses in
                 this case, including but not limited to its decades long relationship with AMc, the
                 NRA’s breach of the Services Agreement, the NRA’s interference with the NRA’s
                 Third Party Contracts, NRATV, budgeting, billing, invoicing, the NRA’s
                 anticipated litigation against Defendants in September 2018, and Defendants’
                 compliance with the NRA’s audits.

       20.       Powell, Josh
                 c/o Mark MacDougall
                 AKIN GUMP STRAUSS HAUER & FELD LLP
                 2001 K. Street, N.W.
                 Washington, DC 20006

                 Mr. Powell is believed to have knowledge relating to the claims and defenses in
                 this case, including but not limited to its decades long relationship with AMc, the
                 NRA’s breach of the Services Agreement, the NRA’s interference with the NRA’s
                 Third Party Contracts, NRATV, budgeting, billing, invoicing, the NRA’s
                 anticipated litigation against Defendants in September 2018, and Defendants’
                 compliance with the NRA’s audits.

(B) A copy-or a description by category and location- of all documents, electronically stored
    information, and tangible things that the disclosing party has in its possession, custody,
    or control and may use to support its claim or defenses, unless the use would be solely
    for impeachment.

                Services Agreement, as Amended. Copies of these documents are in the possession
                 of opposing counsel.

                The NRA’s Third Party Contracts. Copies of these documents are in the possession
                 of opposing counsel.

                All pleadings, discovery, and other documents on file with the Court, or which have
                 been served upon the parties in the lawsuit styled: National Rifle Association of
                 America v. Ackerman McQueen, Inc., et al., Civil Action No. 3:19-cv-02074-G,
                 United States District Court, Northern District of Texas, Dallas Division. Copies
                 of these documents are in the possession of opposing counsel.

                All pleadings, discovery, and other documents on file with the Court, or which have
                 been served upon the parties in the lawsuit styled: National Rifle Association of
                 America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19001757, Circuit

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              Court for the City of Alexandria, Virginia (filed on April 12, 2019). Copies of these
              documents are in the possession of opposing counsel.

             All pleadings, discovery, and other documents on file with the Court, or which have
              been served upon the parties in the lawsuit styled: National Rifle Association of
              America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19002067, Circuit
              Court for the City of Alexandria, Virginia (filed on May 22, 2019). Copies of these
              documents are in the possession of opposing counsel.

             All pleadings, discovery, and other documents on file with the Court, or which have
              been served upon the parties in the lawsuit styled: National Rifle Association of
              America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19002886, Circuit
              Court for the City of Alexandria, Virginia (filed on September 5, 2019). Copies of
              these documents are in the possession of opposing counsel.

             Relevant communications between individuals identified as persons with
              knowledge. (FED. R. CIV. P. 26(a)(1)(a)).

             Documents previously provided and will be provided to the NRA demonstrating
              the falsity of the NRA’s claims and damages.

             In addition to the above-listed documents, Defendants may use any and all other
              documents, data compilations, and other tangible things produced or identified by
              any other party herein the course of discovery to support Defendants’ claims and
              defenses.

(C) A computation of each category of damages claimed by the disclosing party – who must
    also make available for inspection and copying as under Rule 34 the documents or other
    evidentiary material, unless privileged or protected from disclosure, on which each
    computation is based, including materials bearing on the nature and extent of injuries
    suffered.

          1. Damages for breach of the Services Agreement against the NRA in the amount that
             exceeds $40 million, including but not limited to damages from the failure to pay
             outstanding invoices for services rendered, damages from the breach of the
             indemnification clause, damages from the termination fee, damages from the failure
             to pay timely invoices, damages from the costs to return the NRA’s property, and
             damages from the NRA’s obligation to post a $3 million letter of credit;

          2. Damages for defamation, tortious interference with contract, and fraud against
             NRA and/or LaPierre in an amount that is yet to be determined;

          3. Punitive or uncapped exemplary damages against both the NRA and Mr. LaPierre
             in an amount to be determined by the jury;

          4. Pre-judgment interest on the foregoing amounts at the maximum rate permitted by
             applicable law;

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            5. Post-judgment interest on the foregoing amounts at the maximum rate permitted by
               applicable law;

            6. Reasonable attorneys’ fees, expert witness fees, and costs for copies of depositions;

            7. Such other and further relief to which Defendants may be justly entitled.

            8. Defendants reserve the right to supplement these Initial Disclosures throughout and
               upon the conclusion of discovery and with the benefit of expert analysis and review.

 (D) For inspection and copying as under Rule 34, any insurance agreement under which an
     insurance business may be liable to satisfy all or part of a possible judgment in the action
     or indemnify or reimburse for payments made to satisfy the judgment.

               AXIS Insurance Company Policy No. ECN000267781801.


 Dated: October 15, 2020.                     Respectfully submitted,

                                              /s/ Brian E. Mason
                                              G. Michael Gruber, Esq.
                                              Texas Bar No. 08555400
                                              gruber.mike@dorsey.com
                                              Jay J. Madrid, Esq.
                                              Texas Bar No. 12802000
                                              madrid.jay@dorsey.com
                                              J. Brian Vanderwoude, Esq.
                                              Texas Bar No. 24047558
                                              vanderwoude.brian@dorsey.com
                                              Brian E. Mason, Esq.
                                              Texas Bar No. 24079906
                                              mason.brian@dorsey.com

                                              DORSEY & WHITNEY LLP
                                              300 Crescent Court, Suite 400
                                              Dallas, Texas 75201
                                              (214) 981-9900 Phone
                                              (214) 981-9901 Facsimile

                                              ATTORNEYS FOR DEFENDANTS




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 15, 2020 I served the document on all counsel and/or pro
 se parties of record by a manner authorized by Federal Rules of Civil Procedure 5(b)(2).

                                             /s/ Brian E. Mason
                                             BRIAN E. MASON




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